IN THE UNiTED STATES DISTRICT COURT
FOR THE EASTERN D|STRICT OF TENNESSEE
AT WINCHESTER

KRISTOPHER R. MAJORS and wife,
CAR|E NIAJORS,

P|aintiffs,

STATE AUTO PROPERTY & CASUALTY
iNSURANCE CON|PANY,

)
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)
)
v. ) Case No.:
)
) Judge:
l
l
l

Defendant.

NOT|CE OF REMOVAL

Defendant, State Auto Property & Casua|ty insurance Company, hereby notifies
the Judges of the United States District Court for the Eastern District of Tennessee, the
C|erk of the Circuit Court of Frank|in County, Tennessee at Winchester, and Plaintiffs,
Kristopher R. Majors and wife, Carie Majors, that the action described herein and filed in
the Circuit Court of Frank|in County, Tennessee at Winchester, is removed to the United
States District Court for the Eastern District of Tennessee, at Winchester, pursuant to
28 U.S,C. §1443.

i. On duly 17, 2012, plaintiffs, Kristopher R. Majors and wife, Carie lV|ajors,
fried a civil action bearing Case No. 2012-CV-18791 against the defendantl State /-\uto
Property & Casualty insurance Company ("State Auto"), an Ohio corporation, incorrectly
named as State Auto insurance Company, in the Circuit Court of Franklin County,
Tennessee. Service of the complaint and summons was made upon the Tennessee

Department of Cornmerce and insurance on or about July 25, 2012.

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2. Piaintifis filed this action seeking damages for breach of contract and bad
faith allegedly due under a contract of insurance written by defendant State Auto. (See
compiaint). (A copy attached hereto as exhibit 1).

3. Petitioner seeks removal of this action to this Court on the grounds that
the controversy is whoiiy between citizens of different states and involves an amount in
controversy which exceeds Seventy-five Thousanci Doi|ars ($75,000), exclusive of the
interest and costs, pursuant to 28 U.S.C. §1332. in particuiar, the plaintiffs in the
underlying action seeks recovery of policy benefits and damages for bad faith for
defendants alleged failure to pay under a homeowner's poiicy.

4. Plaintiffs are residents of Winchester, Tennessee in Frani<|in County,
`iennessee, and Were at the time of the filing of this action and at the time of the
removai. Defendant, State Auto Property & Casuaity insurance Company, is a
corporation organized under the laws of the state of Ohio with its principal place of
business in Coiumbus, Ohio. Accordingiy, this matter involves citizens of different
states

5. This notice is filed within the time prescribed by 28 U.S.C. §1446(b).

6. A copy of the Summons and Compiaint, being ai| the papers served upon
defendant is attached hereto.

WHEREFORE, notice is hereby given that the said Civii Action No. 2012-CV-

tB?Qt is removed from the Circuit Court of Frani<|in County, Tennessee, to this Court.

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(615) 256-8787

CERTlFiCATE OF SERViCE

i hereby certify that on this 24th day of August, 2012, a true and correct copy of the
foregoing has been sent via first~c|ass mai|, postage prepaid to:

Jerre iVi. Hood
156 ist Avenue NW
V\iinchester, TN 37398

 

WU FER ELL

 

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